           Case 1:20-cv-24442-MGC Document 1 Entered on FLSD Docket 10/28/2020 Page 1 of 9




                                          IN THE UNITED STATES DISTRICT COURT
                                         FOR THE SOUTHERN DISTRICT OF FLORIDA

               AMERICAN ZURICH INSURANCE COMPANY, )
                                                         )
                     Plaintiff,                          )
                                                         )
               v.                                        )                      Case No. 1:20-cv-24442
                                                         )
               BRIGHTVIEW LANDSCAPE SERVICES, INC., )
               and ALONZIE WIGGINS,                      )
                     Defendants.                         )
               __________________________________________)

                                        COMPLAINT FOR DECLARATORY JUDGMENT

                          Pursuant to FED. R. CIV. P. 57 and 28 U.S.C. § 2201, Plaintiff, AMERICAN ZURICH

               INSURANCE COMPANY (“AZIC”), respectfully submits this Complaint for Declaratory

               Judgment against Defendants, BRIGHTVIEW LANDSCAPE SERVICES, INC. (“BRIGHT

               VIEW”) and ALONZIE WIGGINS (“WIGGINS”), and states as follows:

                                                   Parties, Jurisdiction, and Venue

                          1.       AZIC is an Illinois corporation engaged in the insurance business with a statutory

               home office and its principal place of business located at 1299 Zurich Way, Schaumburg, Illinois

               60196.          AZIC is authorized to transact business and has transacted business in the State of

               Florida.

                          2.       WIGGINS is a resident and citizen of the State of Florida.

                          3.       BRIGHT VIEW        is a Florida Corporation with its principal place of business in

               the State of Pennsylvania and authorized to do business in the State of Florida.

                          4.       This court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(a)(1)

               because of the complete diversity of citizenship between Plaintiff and Defendants, and the

               amount in controversy exceeds $75,000 exclusive of interest and costs.



                                                                    1


Confidential \ Non Personal Data
           Case 1:20-cv-24442-MGC Document 1 Entered on FLSD Docket 10/28/2020 Page 2 of 9




                         5.        Venue is proper before this Court pursuant to 28 U.S.C. § 1391.

                                                          Factual Background

                         6.        AZIC issued a Workers Compensation and Employers Liability Insurance Policy

               designated by Policy # WC 4664773-04, with effective dates from June 30, 2015 through June

               30, 2016 (the “Policy”) to non-party Personnel Staffing Group, LLC (“PSG”). A true and correct

               copy of the Policy is attached hereto as Exhibit “A”.

                         7.        The Policy, by its terms, extended to certain clients of PSG.

                         8.        WIGGINS was an employee of PSG placed with BRIGHT VIEW in accordance

               with the terms of a Service Agreement between PSG and BRIGHT VIEW dated February 26,

               2015 (the “Service Agreement”). A true and correct copy of the Service Agreement is attached

               hereto as Exhibit “B”.

                         9.        On August 6, 2015, WIGGINS fell from a lawnmower and severely lacerated his

               foot.

                         10.       AZIC paid workers’ compensation benefits to WIGGINS.

                         11.       On December 8, 2017, WIGGINS brought suit against BRIGHT VIEW arising

               from BRIGHT VIEW’s alleged negligence in maintaining the equipment that WIGGINS was

               using on August 6, 2015, captioned Alonzie Wiggans v. BrightView Landscape Services, Inc.,

               and assigned Case No.: CACE 17-21790 pending in the Circuit Court in and for Broward

               County, Florida (the “Underlying Suit”). A true and correct copy of the Underlying Suit is

               attached hereto as Exhibit “C”.

                         12.       BRIGHT VIEW was served in the Underlying Suit on or about December 26,

               2017.




                                                                    2


Confidential \ Non Personal Data
           Case 1:20-cv-24442-MGC Document 1 Entered on FLSD Docket 10/28/2020 Page 3 of 9




                         13.       BRIGHT VIEW never responded to the Complaint in the Underlying Suit, and a

               default judgment was entered against BRIGHT VIEW on March 23, 2018. A true and correct

               copy of the Default is attached hereto as Exhibit “D”.

                         14.       On or about August 21, 2019, a jury trial was held in the Underlying Suit, and

               WIGGINS was awarded $2,587,000 against BRIGHT VIEW. The judgment was amended to

               $2,516,301.70 by the court. A true and correct copy of the Final Judgment against BRIGHT

               VIEW from the Underlying Suit is attached hereto as exhibit “E”.

                         15.       On or about October 18, 2019, BRIGHT VIEW filed its Motion to Vacate

               Judgment in the Underlying Suit. A true and correct copy is attached hereto as Exhibit “F”. The

               Motion included a sworn statement on behalf of BRIGHT VIEW, acknowledging that it was

               served in the Underlying Suit and that it failed to respond to the Complaint. Id.

                         16.       BRIGHT VIEW failed to promptly notify AZIC of the Underlying Suit, only

               notifying AZIC long after the jury verdict, final judgment, and its attempt to vacate final

               judgment.

                                                                The Policy

                         17.       The Policy states in relevant part as follows:

                                        WORKERS COMPENSATION AND EMPLOYERS
                                             LIABILITY INSURANCE POLICY

                                                                    ***

                                                         PART TWO
                                                EMPLOYERS LIABILITY INSURANCE

                                   A. How This Insurance Applies
                                   This employers liability insurance applies to bodily injury by
                                   accident or bodily injury by disease. Bodily injury includes
                                   resulting death.




                                                                     3


Confidential \ Non Personal Data
           Case 1:20-cv-24442-MGC Document 1 Entered on FLSD Docket 10/28/2020 Page 4 of 9




                                   1. The bodily injury must arise out of and in the course of the
                                   injured employee’s employment by you.

                                   2. The employment must be necessary or incidental to your work
                                   in a state or territory listed in Item 3.A. of the Information Page.

                                   3. Bodily injury by accident must occur during the policy period.

                                   4. Bodily injury by disease must be caused or aggravated by the
                                   conditions of your employment. The employee’s last day of last
                                   exposure to the conditions causing or aggravating such bodily
                                   injury by disease must occur during the policy period.

                                   5. If you are sued, the original suit and any related legal actions for
                                   damages for bodily injury by accident or by disease must be
                                   brought in the United States of America, its territories or
                                   possessions, or Canada.

                                   B. We Will Pay

                                   We will pay all sums that you legally must pay as damages
                                   because of bodily injury to your employees, provided the bodily
                                   injury is covered by this Employers Liability Insurance. The
                                   damages we will pay, where recovery is permitted by law, include
                                   damages:

                                   1. For which you are liable to a third party by reason of a claim or
                                   suit against you by that third party to recover the damages claimed
                                   against such third party as a result of injury to your employee;

                                   2. For care and loss of services; and

                                   3. For consequential bodily injury to a spouse, child, parent,
                                   brother or sister of the injured employee; provided that these
                                   damages are the direct consequence of bodily injury that arises out
                                   of and in the course of the injured employee’s employment by you;
                                   and

                                   4. Because of bodily injury to your employee that arises out of and
                                   in the course of employment, claimed against you in a capacity
                                   other than as employer.

                                   C. Exclusions

                                   This insurance does not cover:



                                                                     4


Confidential \ Non Personal Data
           Case 1:20-cv-24442-MGC Document 1 Entered on FLSD Docket 10/28/2020 Page 5 of 9




                                   1. Liability assumed under a contract. This exclusion does not
                                   apply to a warranty that your work will be done in a workmanlike
                                   manner;

                                   2. Punitive or exemplary damages because of bodily injury to an
                                   employee employed in violation of law;

                                   3. Bodily injury to an employee while employed in violation of law
                                   with your actual knowledge or the actual knowledge of any of your
                                   executive officers;

                                   4. Any obligation imposed by a workers compensation,
                                   occupational disease, unemployment compensation, or disability
                                   benefits law, or any similar law;

                                   5. Bodily injury intentionally caused or aggravated by you;

                                   6. Bodily injury occurring outside the United States of America, its
                                   territories or possessions, and Canada. This exclusion does not
                                   apply to bodily injury to a citizen or resident of the United States
                                   of America or Canada who is temporarily outside these countries;

                                   7. Damages arising out of coercion, criticism, demotion,
                                   evaluation, reassignment, discipline, defamation, harassment,
                                   humiliation, discrimination against or termination of any
                                   employee, or any personnel practices, policies, acts or omissions;

                                                                   ***

                                   D. We Will Defend
                                   We have the right and duty to defend, at our expense, any claim,
                                   proceeding or suit against you for damages payable by this
                                   insurance. We have the right to investigate and settle these claims,
                                   proceedings and suits. We have no duty to defend a claim,
                                   proceeding or suit that is not covered by this insurance. We have
                                   no duty to defend or continue defending after we have paid our
                                   applicable limit of liability under this insurance.

                                                                   ***

                                                               PART FOUR
                                                 YOUR DUTIES IF INJURY OCCURS
                                   Tell us at once if injury occurs that may be covered by this policy.
                                   Your other duties are listed here.




                                                                    5


Confidential \ Non Personal Data
           Case 1:20-cv-24442-MGC Document 1 Entered on FLSD Docket 10/28/2020 Page 6 of 9




                                   1. Provide for immediate medical and other services required by
                                   the workers compensation law.
                                   2. Give us or our agent the names and addresses of the injured
                                   persons and of witnesses, and other information we may need.
                                   3. Promptly give us all notices, demands and legal papers related to
                                   the injury, claim, proceeding or suit.
                                   4. Cooperate with us and assist us, as we may request, in the
                                   investigation, settlement or defense of any claim, proceeding or
                                   suit.
                                   5. Do nothing after an injury occurs that would interfere with our
                                   right to recover from others.
                                   6. Do not voluntarily make payments, assume obligations or incur
                                   expenses, except at your own cost.

                         18.       The Policy is modified by the Alternate Employer Endorsement as follows:

                                           ALTERNATE EMPLOYER ENDORSEMENT

                                   This endorsement applies only with respect to bodily injury to your
                                   employees while in the course of special or temporary employment
                                   by the alternate employer in the state named in Item 2 of the
                                   Schedule. Part One (Workers Compensation Insurance) and Part
                                   Two (Employers Liability Insurance) will apply as though the
                                   alternate employer is insured. If an entry is shown in Item 3 of the
                                   Schedule the insurance afforded by this endorsement applies only
                                   to work you perform under the contract or at the project named in
                                   the Schedule.

                                   Under Part One (Workers Compensation Insurance) we will
                                   reimburse the alternate employer for the benefits required by the
                                   workers compensation law if we are not permitted to pay the
                                   benefits directly to the persons entitled to them.

                                   The insurance afforded by this endorsement is not intended to
                                   satisfy the alternate employer’s duty to secure its obligations under
                                   the workers compensation law. We will not file evidence of this
                                   insurance on behalf of the alternate employer with any government
                                   agency.

                                   We will not ask any other insurer of the alternate employer to share
                                   with us a loss covered by this endorsement.

                                   Premium will be charged for your employees while in the course
                                   of special or temporary employment by the alternate employer.




                                                                    6


Confidential \ Non Personal Data
           Case 1:20-cv-24442-MGC Document 1 Entered on FLSD Docket 10/28/2020 Page 7 of 9




                                   The policy may be canceled according to its terms without sending
                                   notice to the alternate employer.

                                   Part Four (Your Duties If Injury Occurs) applies to you and the
                                   alternate employer. The alternate employer will recognize our right
                                   to defend under Parts One and Two and our right to inspect under
                                   Part Six.

                                                                Schedule

                                   1.     Alternate Employer

                                   AN ALTERNATE EMPLOYER WITH WHOM YOU HAVE A
                                   WRITTEN CONTRACT THAT REQUIRED THIS POLICY TO
                                   APPLY AS THOUGH THE ALTERNATE EMPLOYER IS AN
                                   INSURED.

                                   Address

                                   2.     State of Special or Temporary Employment

                                   ALL STATES LISTED IN ITEM 3.A. OF THE INFORMATION
                                   PAGE

                                   3.     Contract or Project

                                   ALL

                                                                       ***

                         19.       The Policy obligates BRIGHT VIEW to “promptly” notify AZIC of demands and

               legal papers related to an injury, claim, proceeding or suit.

                         20.       BRIGHT VIEW failed to promptly notify AZIC of the Underlying Suit, despite it

               having notice of the Underlying Suit.

                         21.       Based upon the plain and unambiguous terms and conditions of the Policy, AZIC

               is not obligated to defend or indemnify BRIGHT VIEW relative to the Underlying Suit.

                                                   DECLARATORY JUDGMENT




                                                                   7


Confidential \ Non Personal Data
           Case 1:20-cv-24442-MGC Document 1 Entered on FLSD Docket 10/28/2020 Page 8 of 9




                         22.       AZIC realleges and incorporates the allegations contained in Paragraphs 1-21

               above as if fully set forth herein.

                         23.       An actual, justiciable controversy exists between AZIC and BRIGHT VIEW and

               WIGGINS regarding AZIC’s obligations under the Policy within the meaning of 28 U.S.C. §

               2201 as demonstrated by the facts alleged herein.

                         24.       Accordingly, AZIC is uncertain as to its rights, duties, and obligations with

               respect to the Policy.

                         25.       A bona fide, actual, and present need for a declaration exists.

                         26.       The declaration requested concerns a present, ascertained or ascertainable state of

               facts or present controversy as to a state of facts.

                         27.       A privilege or right of AZIC is dependent upon the facts or the law applicable to

               the facts.

                         28.       The parties have an actual, present, adverse, and antagonistic interest in the

               subject matter, either in law or in fact.

                         29.       The relief sought by AZIC is not merely the giving of legal advice or the answer

               to questions propounded for curiosity.

                         30.       Accordingly, AZIC seeks an Order from this Court declaring that AZIC has no

               duty to defend or indemnify BRIGHT VIEW in the Underlying Suit brought by WIGGINS.

                         31.       Further, AZIC seeks an Order awarding AZIC such other relief as the Court

               deems proper.

                         WHEREFORE,          the Plaintiff,   AMERICAN ZUIRICH INSURANCE COMPANY,

               respectfully requests that this Court resolve this controversy pursuant to FED. R. CIV. P. 57 and

               28 U.S.C.A. § 2201 and determine the rights and obligations of the parties under the insurance



                                                                     8


Confidential \ Non Personal Data
           Case 1:20-cv-24442-MGC Document 1 Entered on FLSD Docket 10/28/2020 Page 9 of 9




               contract relative to the Underlying Suit, including a declaration that AMERICAN ZURICH

               INSURANCE COMPANY has no duty to defend or indemnify BRIGHTVIEW LANDSCAPE

               SERVICES, INC.

                                                Respectfully submitted this 28th day of October, 2020,

                                                       Attorneys for Plaintiff, AMERICAN ZUIRICH
                                                       INSURANCE COMPANY
                                                       1221 Brickell Avenue, 19th Floor
                                                       Miami, Florida 33131
                                                       (305) 416-3180 – Phone
                                                       (305) 416-3190 – Fax

                                                       __/s/ Stephen Hunter Johnson______________
                                                       STEPHEN HUNTER JOHNSON
                                                       Florida Bar No.: 12362
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                                                          9


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